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 1   Jared M. Hartman (254860)
     HARTMAN LAW OFFICE, INC.
 2
     400 S. Melrose Drive, Suite 209
 3   Vista, CA 92081
     PH: (951) 234-0881
 4   Fax: (888) 819-8230
     jaredhartman@jmhattorney.com
 5

 6                                U.S. DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
 7                              SAN FRANCISCO DIVISION
 8

     JOHN MARTIN,                                       Case No.: 3:13-CV-04706 WHA
 9
            Plaintiff,                                   STIPULATION TO DISMISS ENTIRE
10                                                       ACTION WITH PREJUDICE
            vs.
11

12   CREDIT               CONSULTING
     SERVICES, INC. an incorporated
13
     business     entity;    EXPERIAN
14   INFORMATION           SOLUTIONS,
     INC.,     an  incorporated  entity;
15   EQUIFAX, INC., an incorporated
     entity; and DOES 1 through 100,
16   inclusive,
17          Defendants.
18
            Plaintiff and the only remaining Defendant (Credit Consulting Services, Inc.) herein stipulate
19
     and request this Honorable Court to dismiss, with prejudice, the entire action.
20
     DATED: March 12, 2014
21
     /s/ Jared M. Hartman                         /s/ Andrew Steinheimer
22   Jared M. Hartman                             Andrew Steinheimer
     Attorney for Plaintiff John Martin           Attorney for Defendant CCS
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          Case 3:13-cv-04706-WHA Document 40 Filed 06/10/14 Page 2 of 2



 1                                              COURT ORDER

 2            The parties stipulation to dismiss the action with prejudice is hereby GRANTED.

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 4   IT IS SO ORDERED.

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     Dated:
 6                                                          The Honorable William H. Alsup
 7                                                          UNITED STATES DISTRICT JUDGE

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